

People v Carrasquillo (2018 NY Slip Op 03070)





People v Carrasquillo


2018 NY Slip Op 03070


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018

PRESENT: WHALEN, P.J., SMITH, NEMOYER, CURRAN, AND WINSLOW, JJ. (Filed Apr. 27, 2018.) 


MOTION NO. (758/16) KA 13-01913.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRICARDO CARRASQUILLO, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








